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10

11                        UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13
     IN RE: NATIONAL FOOTBALL                      Case No. 2:15-ml-02668-PSG (JEMx)
14   LEAGUE’S “SUNDAY TICKET”
     ANTITRUST LITIGATION
15                                                 DECLARATION OF JASON
     THIS DOCUMENT RELATES TO                      BAKER IN SUPPORT OF
16   ALL ACTIONS                                   PLAINTIFFS’ MOTION FOR
                                                   CLASS CERTIFICATION
17
                                                   Discovery Cutoff Date: 8/5/2022
18                                                 Pretrial Conference Date: 2/9/2024
                                                   Trial Date: 2/22/2024
19

20
21                         DECLARATION OF JASON BAKER
22   I, Jason Baker, declare as follows:
23      1. I am the proprietor of Ninth Inning, Inc., dba The Mucky Duck (“Mucky
24         Duck”).
25      2. I am over the age of 18 and authorized to make this declaration on behalf of
26         Mucky Duck. I have personal knowledge of the facts described in this
27         declaration and if called upon to do so, I would testify to the matters stated in
28         this declaration.
                                               1
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